

Guerra v Munoz Corporan (2024 NY Slip Op 05634)





Guerra v Munoz Corporan


2024 NY Slip Op 05634


Decided on November 14, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 14, 2024

Before: Kern, J.P., Kapnick, Kennedy, Higgitt, O'Neill Levy, JJ. 


Index No. 23516/19 Appeal No. 3052-3053 Case No. 2024-02698, 2024-02886 

[*1]Louis Guerra, Plaintiff-Respondent,
vJose Andres Munoz Corporan, et al., Defendants-Appellants.


Cheven Keely &amp; Hatzis, New York (Thomas Torto of counsel), for appellant.
Jason B. Kessler, White Plains, and Nicholas E. Tzaneteas, Brooklyn for respondent.



Appeals from order, Supreme Court, Bronx County (Elizabeth A. Taylor, J.), entered on or about March 19, 2024, which, to the extent appealed from as limited by the briefs, granted plaintiff's motion to preclude defendants' biomedical engineer from testifying at trial to the extent of setting the matter down for a hearing to determine whether a proper foundation could be laid for his testimony on the theory of causation, and from order, same court and Justice, entered on or about April 3, 2024, which, after a hearing, granted plaintiff's motion to preclude defendants' biomedical engineer from testifying on the theory of causation, unanimously dismissed, without costs, as taken from nonappealable orders.
The court's orders were pretrial evidentiary rulings ultimately precluding the testimony of defendants' expert, and thus are nonappealable. This appeal does not fall within the exception to the rule because "the orders being challenged do not limit the legal theory of the liability case" (Rodriguez v Ford Motor Co., 17 AD3d 159, 160 [1st Dept 2005]). THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 14, 2024








